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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CHRISTOPHER REED,                             No. 3:18-CV-00377

           Plaintiff,                         (Judge Brann)

     v.

WILLIAM WILLIAMS, et al.,

           Defendants.

                                  ORDER

                             OCTOBER 21, 2020

    In accordance with the accompanying Memorandum Opinion, IT IS

HEREBY ORDERED that:

    1.    Commonwealth Defendants’ motion to dismiss (Doc. 37)
          is GRANTED.

    2.    The Medical Defendants’ motion to dismiss (Doc. 38) is
          GRANTED.

    3.    The Somerset Defendants’ motion to dismiss (Doc. 40) is
          GRANTED.

    4.    All claims against Defendant Valerie Senko are
          DISMISSED with prejudice pursuant to Federal Rule of
          Civil Procedure 4(m).

    5.    The Court DECLINES to exercise supplemental
          jurisdiction over Reed’s state claim against Somerset
          Hospital to the extent such a claim exists.

    6.    Reed’s second amended complaint is DISMISSED with
          prejudice pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii).
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7.    The Clerk of Court is directed to CLOSE this case.

8.    Any appeal from this Order will be deemed frivolous,
      lacking merit, and not taken in good faith.

                                      BY THE COURT:


                                      s/ Matthew W. Brann
                                      Matthew W. Brann
                                      United States District Judge




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